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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal                        CASE NO.: 9:18-cv-80176-BB/BR
   representative of the Estate of David
   Kleiman, and W&K Info Defense
   Research, LLC

           Plaintiffs,

   v.

   CRAIG WRIGHT

           Defendant.

        DR. CRAIG WRIGHT’S NOTICE OF FILING AMENDED TRIAL EXHIBIT LIST

           Dr. Craig Wright hereby gives notice of filing his Amended Trial Exhibit List with

   plaintiffs’ objections.


  Dated: October 29, 2021

                                                   Respectfully submitted,

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                                                      Florida Bar No. 100554
                                                      Counsel for Dr. Craig S. Wright



                                 CERTIFICATE OF SERVICE

          I CERTIFY that on October 29, 2021, I electronically filed this document with the Clerk
  of the Court using CM/ECF. I also certify that the foregoing document is being served this day on
  all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                       /s/ Andres Rivero




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